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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION



UNITED STATES OF AMERICA


VS.                              CASE NO. 4:03CR00142 JMM


RASHAD LANDERS


                                                 ORDER

        Pending before the Court is petitioner’s Motion for a Certificate of Appealability.

        For this Court to grant a certificate of appealability, the petitioners must make a “substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); Hubbeling v. United States, 288

F.3d 363 (8th Cir. 2002) .   A “substantial showing” is one in which a petitioner demonstrates that his

“‘issues are debatable among jurists of reason; that a court could resolve the issues [in a different

manner]; or that the questions are adequate to deserve encouragement to proceed further.’” Randolph v.

Kemna, 276 F.3d 401, 402 n.1 (8th Cir.2002) (citing Barefoot v. Estelle, 463 U.S. 880, 893 (1983)).

        Petitioner has failed to make a substantial showing of the denial of any constitutional right and

his Motion for Certificate of Appealability is denied.

        IT IS SO ORDERED this         4     day of December, 2008.

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                                                           James M. Moody
                                                           United States District Judge
